                     Case 4:10-cr-00015-SWW                    Document 57                Filed 03/02/11           Page 1 of 5
A0245B        (Rev. 09/08) Judgment in a Criminal Case                                                                       FILED
                                                                                                                           u.s. DISTRICT COURT
              Sheet 1                                                                                                 EASTERN DISTRICT ARKANSAS



                                         UNITED STATES DISTRICT COURJ'T                                                               2011
                                                                                                            :JAMES                         K, CLERK
                                                          Eastern District of Arkansas                       By:
                                                                                                                   -~U'....-+f-JtI-.f-, *-P=-=C~LE""""RK
                                                                       )
              UNITED STATES OF AMERICA                                     )         JUDGMENT IN A CRIMINAL CASE
                                  v.                                       )
                                                                           )
                                                                                     Case Number:           4:lOCR00015-002 SWW
                                                                           )
                     WILLIAM CONDRA                                        )         USMNumber:             25799-009
                                                                           )
                                                                           )         William Jennings Stanley (retained)
                                                                                     Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        Count 1 of the indictment
o pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                            Offense Ended                  Count
21 U.S.c. § 841(a)(1),           Conspiracy to Manufacture Methamphetamine, A Class C Felony                   11/22/2009                     1
(b)(1)(c) and 846




       The defendant is sentenced as provided in pages 2 through                 5          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s) - - - - - - - - - - - - o is                            o are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economIC circumstances.

                                                                          February 25, 2011



                                                                         Q;;;:~)t;w
                                                                          Susan Webber Wright, United States District Judge
                                                                          Name and Title of Judge


                                                                                      5- .:2-~11
                                                                          Date
                        Case 4:10-cr-00015-SWW                  Document 57            Filed 03/02/11          Page 2 of 5
AO 2458       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 4-Probation
                                                                                                            Judgment-Page __2__ of             5
DEFENDANT:                     WILLIAM CONDRA
CASE NUMBER:                   4:lOCR00015-002 SWW
                                                                   PROBATION

The defendant is hereby sentenced to probation for a
THREE (3) YEARS.




The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
o        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
x        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

o        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.)
         as directed by the probatIOn officer, the 13ureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
o The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
       If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, Of administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or )?ersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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AO 2458   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 4A - Probation
                                                                                           Judgment-Page    3    of       5
DEFENDANT:                WILLIAM CONDRA
CASE NUMBER:              4:lOCR00015-002 SWW

                                              ADDITIONAL PROBATION TERMS

1. Defendant shall disclose financial information upon request of the U.S. Probation Office, including, but not limited to,
loans, lines of credit, and tax returns. This also includes records of any business with which defendant is associated. No new
lines of credit shall be established without prior approval of the U.S. Probation Office until all criminal penalties have been
satisfied.
2. Defendant shall participate, under the guidance and supervision of the U. S. Probation Officer, in a substance abuse
treatment program which may include testing, out-patient counseling, and/or residential treatment. Further, defendant shall
abstain from the use of alcohol throughout the course of any treatment.
                         Case 4:10-cr-00015-SWW                     Document 57             Filed 03/02/11         Page 4 of 5
AO 245B     (Rev. 09/08) Judgment in a Criminal Case
            Sheet 5 - Criminal Monetary Penalties
                                                                                                           Judgment -   Page     4      of       5
DEFENDANT:                          WILLIAM CONDRA
CASE NUMBER:                        4:lOCR00015-002 SWW
                                                CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                          Assessment                                           Fine                               Restitution
TOTALS                  $ 100.00                                           $                                   $ 3,707.00


D The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AD 245C) will be entered
     after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned ]layment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664l1), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                   Total Loss*                           Restitution Ordered                      Priority or Percentage
Drug Enforcement Admin.                                                                             $3707.00
 Attn: Hazardous Waste
 Disposal Section (SFH), DEA Job
 Number R2-2010-0439- 03029
8701 Morrissette Dr.,
Springfield, VA 22152




TOTALS                                $                                           $                 3707.00


D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.s.c. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

X     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      X the interest requirement is waived for the                D fine       X restitution.
      D the interest requirement for the               D   fine    D restitution is modified as follows:

* Findings for the total amount oflosses are reguired under Chapters 109A, 110, 11OA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
                         Case 4:10-cr-00015-SWW                               Document 57           Filed 03/02/11        Page 5 of 5
AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments
                                                                                                                      Judgment - Page       5      of          5
DEFENDANT:                          WILLIAM CONDRA
CASE NUMBER:                        4:lOCR00015-002 SWW

                                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     X    Lump sum payment of $ ---=-1.: :.-00:: . :.-.: :.00-'=----­    _   due immediately, balance due

           D        not later than                                                , or
           X        in accordance                    D C,            D D,     D     E, or    X F below; or
B     D    Payment to begin immediately (may be combined with                               DC,     D D, or   D F below); or
C     D    Payment in equal                                (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                                 (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D    Payment in equal                                (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                                 (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     D    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     X    Special instructions regarding the payment of criminal monetary penalties:
           The restitution imposed is payable during defendant's term of Probation. Beginning the first month of Probation, payments will
           be 10% per montn of defendant's monthly gross income.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financia1
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




X    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.
     The restitution for William Condra (4:lOCR00015-002) is joint and several with co-defendants John Wesley Shaver (4:lOCR00015­
     001) and Travis Blansett (4:lOCR00015-003) and with any other person who has been or will be convicted on an offense for which
     restItution to the same victim on the same loss is ordered.


D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
